19-36300-cgm         Doc 131         Filed 08/15/19 Entered 08/15/19 15:12:56                          Main Document
                                                   Pg 1 of 3

 OFFICE OF THE UNITED STATES TRUSTEE
 Leo O’Brien Federal Building
 11A Clinton Avenue, Room 620
 Albany, NY 12207
 (518)434-4553
 Alicia M. Leonhard, Trial Attorney

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 POUGHKEEPSIE DIVISION
 ------------------------------------------------------
 In re:                                                             Chapter 11

 BARNEYS NEW YORK, INC., et al., 1                                  Case No. 19-36300 (CGM)

                                                                    (Jointly Administered)
                                              Debtors.
 -------------------------------------------------------

                                 APPOINTMENT OF
                    OFFICIAL COMMITTEE OF UNSECURED CREDITORS

        William K. Harrington, the United States Trustee for Region 2, hereby appoints the
 following unsecured creditors who are willing to serve on the Official Committee of Unsecured
 Creditors, pursuant to 11 U.S.C. § 1102(a) and § 1102(b):

         1.       Simon Property Group, L.P.
                  225 West Washington Street
                  Indianapolis, IN 46204
                  Attn: Ronald M. Tucker, Vice President/Bankruptcy Counsel
                  Telephone (317) 263-2346
                  Fax No. (317) 263-7901
                  Email: rtucker@simon.com

         2.       Flagship 660 Owner LLC & Flagship Partners II LLC
                  c/o SCF Management LLC
                  1407 Broadway, 41st Floor
                  New York, NY 10018
                  Attn: Robert Cayre
                  Telephone (212) 789-7216
                  Email: bobc@cayre.com


       1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, include: Barneys New York, Inc. (1818); Barney’s, Inc. (2980); BNY Catering, Inc. (4434); BNY
       Licensing Corp. (4177); and Barneys Asia Co. LLC (0819). The location of the Debtors’ service address is 575
       Fifth Avenue, New York, New York 10017.

                                                             1
19-36300-cgm     Doc 131    Filed 08/15/19 Entered 08/15/19 15:12:56         Main Document
                                          Pg 2 of 3

       3.      PRADA USA Corp.
               610 West 52nd Street
               New York, NY 10019
               Attn: David R. Warren, Vice President/General Counsel
               Telephone (212) 307-9300
               Email: david.warren@prada.com

       4.      New York-New Jersey Regional Joint Board, affiliated with Workers United
               305 Seventh Avenue
               New York, NY 10001
               Attn: Fred Kaplan, Secretary-Treasurer
               Telephone (212) 475-3131
               Fax No. (212) 475-6093
               Email: fkaplan@workersunitednynj.org

       5.      Hilldun Corporation
               225 West 35th Street, Floor 10
               New York, NY 10001
               Attn: Gary Wassner, CEO
               Telephone (212) 244-2600
               Email: GARY@HILLDUN.COM

       6.      Chloe, a division of Richemont North America, Inc.
               645 Fifth Avenue, 5th Floor
               New York, NY 10022
               Attn: Alexa Geovanos, Brand President, Chloe North and South America
               Telephone (917) 606-7034
               Email: alexa.geovanos@chloe.com

       7.      CSS Building Services
               846 Livingston Avenue
               North Brunswick, NY 08902
               Attn: Vic Tartara, Chief Operating Officer
               Telephone (609) 655-5000
               Email: vtartara@cssbuildingservices.com


 Dated: Poughkeepsie, New York                    WILLIAM K. HARRINGTON
        August 15, 2019.                          UNITED STATES TRUSTEE, REGION 2


                                                  By:       /s/ Alicia M. Leonhard
                                                            Alicia M. Leonhard
                                                            Trial Attorney
                                                            Leo O’Brien Federal Building
                                                            11A Clinton Avenue, Room 620
                                                            Albany, NY 12207
                                              2
19-36300-cgm   Doc 131   Filed 08/15/19 Entered 08/15/19 15:12:56   Main Document
                                       Pg 3 of 3


                                                  Telephone: 202.495.9929 (Direct)
                                                  Email: Alicia.M.Leonhard@usdoj.gov




                                        3
